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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF DELA WARE


IN RE: ASHINC CORPORATION, et al.,             Chapter 11
                                               Bankr. No. 12-11564 (CSS)
                  Debtors.                     (Jointly Administered)


CATHERINE E. YOUNGMAN,
LITIGATION TRUSTEE FOR ASIDNC
CORPORATION, ET AL., AS
SUCCESSOR TO THE OFFICIAL
COMMITTEE OF UNSECURED
CREDITORS OF ASHINC
CORPORATION, AND ITS AFFILIATED
DEBTORS,
                                                Civ. No. 21-994-CFC
                  Plaintiff,

BDCM OPPORTUNITY FUND II, LP,
BLACK DIAMOND CLO 2005-1 LTD.,
and SPECTRUM INVESTMENT
PARTNERS, L.P.,

                  Intervenors,

                  V.

YUCAIPA AMERICAN ALLIANCE FUND:
L.P., AND YUCAIPA AMERICAN
ALLIANCE (PARALLEL) FUND I, L.P.,

                  Defendants.
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CATHERINE E. YOUNGMAN,
LITIGATION TRUSTEE FOR ASIIlNC
CORPORATION, ET AL., AS
SUCCESSOR TO BDCM OPPORTUNITY
FUND II, LP, BLACK DIAMOND
COMl\lIBRCIAL FINANCE, L.L.C., as
co-administrative agent, and SPECTRUM
COMl\lIBRCIAL FINANCE LLC, as
co-administrative agent,
                                                Civ. No. 21-995-CFC
                 Plaintiff,

YUCAIPA AMERICAN ALLIANCE FUND:
I, L.P., and YUCAIPA AMERICAN
ALLIANCE (PARALLEL) FUND I, L.P.,

                 Defendants.


                                  ORDER

     For the reasons set forth in the accompanying Memorandum Opinion, it is

hereby ORDERED that:

     1.    The Emergency Motion (D.I. 4) is DENIED.

                                   Entered this Second day of August 2021.



                                          (k ~ CL~
                                   CONNOLL~HIEF J ~




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